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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

    UNITED STATES OF AMERICA,

                         Plaintiff

                  v.                                        No: 19-cv-01930

    $53,082,824.19 IN U.S. CURRENCY,

                  Defendant




             BANCO SAN JUAN INTERNACIONAL’S MOTION TO RESTRICT




    Abbe David Lowell, Pro hac vice pending            Guillermo Ramos Luiña (USDC-204007)
    Eric W. Bloom, Pro hac vice pending                PO Box 2763, UPR Station
    Christopher D. Man, Pro hac vice pending           San Juan, PR 00931-2763
    Winston & Strawn LLP                               (787) 620-0527 (Phone)
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                         Counsel for Banco San Juan Internacional, Inc. 1




1
  Co-counsel for BSJI in this proceeding, DLA Piper and Sonia Torres, are not counsel in sealed
proceeding No. 19-Misc.-163, and are thus not in possession of the materials referenced in the
restricted submission that necessitate this Motion to Restrict. Nor are they identified as counsel
on the restricted submission. They are, however, identified as co-counsel with respect to all non-
restricted submissions. As co-counsel in this matter, DLA and Ms. Torres might otherwise have
access to the restricted material, but both confirm, as officers of the Court, that they will not review
restricted material filed in this action concerning the sealed proceeding until authorized by the
Court.
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         Consistent with Standing Order No. 9 (January 30, 2013), Banco San Juan Internacional,

Inc. (BSJI) respectfully moves to file its Motion for a Suppression Hearing (Dkt. 23) as a restricted

filing with the “selected parties” designation. The Motion references material from a sealed, but

related, miscellaneous action (No. 19-Misc.-163), and that seal has not yet been removed. Thus,

BSJI must file its Motion as restricted to ensure that sealed material is not made publicly available.

Only the undersigned counsel and the government should have access to the restricted filings

because they were involved in the related action. 2 BSJI will separately file a redacted version of

its Motion so that the public may have access to all information to which it is entitled.

Dated: October 16, 2019



    Abbe David Lowell, Pro hac vice pending           /s/ Guillermo Ramos Luiña
    Eric W. Bloom, Pro hac vice pending               Guillermo Ramos Luiña (USDC-204007)
    Christopher D. Man, Pro hac vice pending          PO Box 2763, UPR Station
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                          Counsel for Banco San Juan Internacional, Inc.


                                  CERTIFICATE OF SERVICE

         I certify that the foregoing was filed on October 16, 2019 with the Clerk of Court using the

CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

                               /s/ Guillermo-Ramos Luiña
                               Guillermo Ramos Luiña


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  Currently, these are the only parties in the matter, but BSJI requests a selected parties designation
to ensure the material is protected if other claims are filed. BSJI is unaware of any other claims.
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